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                                                                           USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                               DOC #:
SOUTHERN DISTRICT OF NEW YORK                                              DATE FILED: 10/21/2020

 THE ESTATE OF MIGUEL ANTONIO RICHARDS by
 SAREKHI SHAMEILA STEPHENS, as Administrator of the
 goods, chattels, and credit of the deceased MIGUEL
 ANTONIO RICHARDS,
                                                                         1:18-cv-11287-MKV
                            Plaintiff,
                                                                       SCHEDULING ORDER
                             -against-                                   AND NOTICE OF
 THE CITY OF NEW YORK, Police Officer JESUS RAMOS,                      POST-DISCOVERY
                                                                          CONFERENCE
 Police Officer MARK FLEMING, Police Officer REDMOND
 MURPHY, and Police Officer MARCOS OLIVEROS,
 individually and in their official capacities,

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court received a joint letter from the parties dated October 19, 2020, in which Plaintiff

requests that the Court set the deadline for the completion of expert discovery as December 21,

2020, and Defendants request that the Court extend the deadline for submission of a letter

regarding any dispositive motion practice to one week from the close of expert discovery [ECF

No. 60].

       The Court hereby GRANTS both requests. First, all expert discovery shall be completed

on or before December 21, 2020. The Court makes clear that in granting Plaintiff’s request for

this deadline, it is explicitly NOT ruling on the admissibility of expert testimony. Second, the

parties’ letter concerning proposed dispositive motion practice (described below) is due on or

before December 28, 2020.

       In addition, the Court directs counsel for all parties to appear at a Post-Discovery

Conference on January 5, 2021, at 10:30 AM. Details regarding the logistics for the conference

(i.e., live versus remote) will be posted as the conference date approaches.
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        On or before December 28, 2020, the parties shall submit a joint letter regarding the status

of the case. The letter should include the following information in separate paragraphs:

        a. a statement of any existing deadlines, due dates, and/or cut-off dates;
        b. a brief description of any outstanding motions;
        c. a brief description of the discovery undertaken and whether either party believes any
           additional discovery remains to be completed;
        d. a statement describing the status of any settlement discussions and whether the parties
           would like a settlement conference;
        e. a statement of the anticipated length of trial and whether the case is to be tried to a jury;
        f. a statement of whether any party anticipates filing a motion for summary judgment or
           a motion to exclude expert testimony (see Individual Practice Rules ¶4(A)(i));
        g. any other issue that the parties would like to address at the conference; and
        h. any other information that the parties believe may assist the Court in advancing the
           case to settlement or trial.

        If either or both of the Parties anticipate filing a motion for summary judgment, that Party’s

pre-motion letter in anticipation of the motion, accompanied by a Rule 56.1 Statement as required

by the Court’s Individual Practices, must be filed by December 28, 2020. The non-moving party

must submit a response, along with a Rule 56.1 Counter-Statement, by January 3, 2020. If both

Parties intend to move for summary judgment, they should coordinate their letters and Rule 56.1

statements to ensure only one complete set is filed (i.e., two letters, one 56.1 statement, and one

56.1 counterstatement). This may require the Parties to simultaneously file the documents on the

same day.

        If no summary judgment motion is anticipated, the post-discovery conference will serve as

a pre-trial conference. Parties should be prepared to discuss scheduling of trial and all pre-trial

matters. Parties are directed to consult the Court’s Individual Practice Rules, specifically § 7, and

be prepared to discuss logistics for trial preparation and trial.

        Any application to modify or extend the dates herein shall be made in a written application

in accordance with paragraph 2(G) of the Court’s Individual Practice Rules and shall be made no

less than three (3) days prior to the expiration of the date sought to be extended. Failure to comply


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with this Order and the deadlines set forth herein may result in sanctions, including the preclusion

or claims or defenses.

SO ORDERED.
                                                      _________________________________
Date: October 21, 2020                                MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge




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